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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION


UNITED STATES OF AMERICA

vs.                                                 2:01-cr-49-FtM-29DNF

ALEXANDER DIAZ
_____________________________


                             OPINION AND ORDER

      This matter comes before the Court on defendant’s Petition For

a Writ of Mandamus Pursuant to the All Writ’s Act, Under 28 U.S.C.

§ 1651 (Doc. #144), filed on January 9, 2006.       The government filed

a Response in Opposition (Doc. #145) on January 20, 2006.

      Defendant asserts that the issuance of a writ of mandamus is

appropriate because no other remedy is available to “remedy the

clear usurpation of power and abuse of the Court’s discretion which

has occured [sic] during the sentencing phase of the petitioner,

which has violated his Sixth Amendment rights.”         (Doc. #144, p. 5,

¶ 4).        More specifically, defendant argues that his sentence

violated      the   Apprendi1/Booker2/Blakely3   line   of   cases.     The

government counters that a mandamus is not available to compel the

application of Booker.

      On September 5, 2001, Alexander Diaz (defendant or Diaz) was

charged in a five-count First Superceding Indictment with various

      1
          Apprendi v. New Jersey, 530 U.S. 466 (2000).
      2
          United States v. Booker, 543 U.S. 220 (2005).
      3
          Blakley v. Washington, 542 U.S. 296 (2004).
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drug and firearms charges. (Doc. #44).                          On October 9, 2001,

defendant   plead     guilty    to       three      of    the    counts     before       the

undersigned pursuant to a Plea Agreement.                   (Docs. #62, #68).             On

January 22, 2002, defendant was sentenced to 210 months concurrent

imprisonment    on   Counts     1    and      5,    and    60    months     consecutive

imprisonment on Count 3, followed by 60 months supervised release.

(Docs.   #88,   #90).    Defendant            did   not   file     a    direct     appeal.

Defendant filed a Motion under 28 U.S.C. § 2255 (Doc. #123) on

September 29, 2003, which was dismissed as untimely.                        On December

20, 2004, petitioner filed a Notice of Appeal (Doc. #131).                               The

appeal was dismissed by the Eleventh Circuit Court of Appeals on

March 8, 2005, for failure to prosecute.                        On August 29, 2005,

defendant filed a Motion to Modify or Reduce Term of Imprisonment

Pursuant to Title 18 U.S.C. § 3582(c)(2) (Doc. #139).                           The Motion

was denied by Opinion and Order (Doc. #141) issued on November 29,

2005.    Defendant filed a Notice of Appeal (Doc. #142) from that

decision, and the appeal remains pending before the Eleventh

Circuit Court of Appeals.

     A   writ   of   mandamus       is   an     extraordinary          remedy    which    is

available only when there is no other adequate means available to

remedy a clear usurpation of power or abuse of discretion. Jackson

v. Motel 6 Multipurpose, Inc., 130 F.3d 999, 1004 (11th Cir. 1997).

A defendant must show both that he lacks adequate alternative means

to obtain the relief sought and carry the burden of showing that

his right to issuance of a writ is clear and indisputable.                         Mallard

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v. United States District Court for Southern District of Iowa, 490

U.S. 296, 309 (1989); In re Am. Airlines, Inc., 972 F.2d 605, 608

(11th Cir. 1992), cert. denied, 507 U.S. 912 (1993).               The Court

agrees with defendant that there is no current alternative means to

obtain the relief sought under Booker, Blakely, or Apprendi.              See

Avila v United States, 2:05-cv-266-FTM-29DNF, 2005 WL 3467670 (M.D.

Fla. Dec. 19, 2005)4.      This alone, however, is not sufficient for

a writ of mandamus.

     Defendant     fails   to    carry   his   burden   as   to   the   second

requirement.     It is clear that defendant is not entitled to relief

under Booker, Blakely, or Apprendi in a post-conviction proceeding

because none of these cases apply retroactively to post-conviction

collateral proceedings.         United States v. Moreno, 421 F.3d 1217,

1220 (11th Cir. 2005); Varela v. United States, 400 F.3d 864, 867-

68 (11th Cir.)(citing Schriro v. Summerlin, 124 S. Ct. 2519, 2526-

27 (2004)), cert. denied, 126 S. Ct. 312 (2005); In re Anderson,

396 F.3d 1336 (11th Cir. 2005).          Mandamus relief is not available

to defendants seeking to raise Booker-type issues in collateral

proceedings.     In re Emmanuel, 144 Fed. Appx. 982 (4th Cir. 2005);

In re Spotts, 124 Fed. Appx. 800 (4th Cir. 2005).

     Accordingly, it is now

     ORDERED:




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         Slip Copy attached.
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     Petitioner’s Petition For a Writ of Mandamus Pursuant to the

All Writ’s Act, Under 28 U.S.C. 1651 (Doc. #144) is DENIED.

     DONE AND ORDERED at Fort Myers, Florida, this          30th    day of

January, 2006.




Copies:
AUSA
Alexander Diaz




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